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                                                                                                                                     Long-term Projections FY2018 Q3.AHA.filing



                                       Medicare Appeals Workload Projections - OMHA
                                                                    (data reported in appeals, as of 6/30/2018)
Baseline Estimates                                                                   FY17              FY18         FY19             FY20            FY21            FY22
Pending Appeals at Beginning of Fiscal Year                                            675,530          578,683       426,594         341,324         214,792         106,356
New receipts                                                                           112,933           71,634        74,572          76,368          84,414          86,150
Dispositions                                                                           (84,729)        (104,500)     (121,150)       (176,600)       (187,850)       (187,850)
Administrative Actions                                                                (122,664)        (119,223)      (38,692)        (26,300)         (5,000)         (5,000)
Pending Appeals at End of Fiscal Year                                                  581,070          426,594       341,324         214,792         106,356               0
Footnotes:
1/ Negative numbers reflect adjudicated appeals. Positive numbers reflect appeals awaiting adjudication.

2/ New workload and additional adjudication capacity projections only include Part A and B claims. Disposition capacity includes all entitlement claims (e.g., Parts A-D, QIO).
3/ Baseline estimates represents status of appeals without any legislative or budgetary action.
4/ Dispositions refers to ALJ dispositions, attorney adjudicator dispositions, Senior ALJ Program adjudication, on-the-record adjudication, and statistical sampling. Other
dispositions are included in Administrative Actions.
5/ FY17 data represent actuals. FY18 Pending Appeals at Beginning of Fiscal year is an actual.
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                                                                                                                                           Long-term Projections FY2018 Q3.AHA.filing



                                           OMHA Actions (data reported in appeals, as of 6/30/2018)
                                                                  Fiscal Year   FY 2017       FY 2018       FY 2019      FY 2020       FY 2021       FY 2022
Pending Appeals at Beginning of Fiscal Year                                       675,530       578,683       426,594       341,324       214,792       106,356
              1, 2
New Receipts                                                                      112,933        71,634        74,572        76,368        84,414        86,150
Total Appeals Removed at Current Budget Level                                                                (159,842)     (202,900)     (192,850)     (192,850)
Impact of Prior Budget Level (FY17)                                               (207,393)    (223,723)     (137,342)     (124,150)     (102,850)     (102,850)
  OMHA Dispositions                                                                (84,729)    (104,500)      (98,650)      (97,850)      (97,850)      (97,850)
      ALJ Dispositions                                                             (77,121)     (90,000)      (90,000)      (90,000)      (90,000)      (90,000)
      Attorney Adjudicator Dispositions                                                  0       (5,000)       (5,000)       (5,000)       (5,000)       (5,000)
      Settlement conference facilitation - prior to States (non-add) 3              (3,209)
      On The Record (OTR) adjudication option (non-add)                             (3,377)      (1,500)       (1,150)         (350)         (350)         (350)
      Senior ALJ Program (non-add)                                                    (619)        (500)         (500)         (500)         (500)         (500)
      Statistical sampling expanded / sampling with consent (non-add)                 (403)      (7,500)       (2,000)       (2,000)       (2,000)       (2,000)
  Administrative Action Dispositions                                              (122,664)    (119,223)      (38,692)      (26,300)       (5,000)       (5,000)
      Settlement conference facilitation - including States (non-add) 4                         (67,000)       (8,000)       (5,000)       (5,000)       (5,000)
      QIC Discussion Demonstration - Remands for Resolution (non-add)              (23,911)     (17,325)      (18,563)      (19,800)            0             0
      Received appeals combined for efficiency (non-add) 5                          (7,267)           0             0             0             0             0
      Low Volume Appeals (non-add) 6                                                     0      (27,648)       (4,879)
      Serial Claims Initiative (non-add)                                                         (7,000)       (7,000)       (1,500)
      CMS Hospital Settlements (non-add)                                           (91,486)        (250)         (250)            0             0             0
Added Impact of Current Budget Level (FY18)                                                                   (22,500)      (78,750)      (90,000)      (90,000)
      Additional ALJ teams                                                                                    (20,000)      (70,000)      (80,000)      (80,000)
      Magistrates 7                                                                                                 0             0             0             0
      Additional Attorney Adjudicator Capacity                                                                 (2,500)       (8,750)      (10,000)      (10,000)
Footnotes:
1/ Prior Year receipts include the majority of appeals received through June 30, 2018. Out Year receipts are from CMS projections.
2/ Receipts exclude reopened appeals but include appeals involved in CMS settlements.
3/ OMHA Dispositions exclude remands.
4/ Prior Year SCF counts reflect SCF appeals closed (versus SCF appeals settled).
5/ FY18 SCF estimate includes: (46,000) from NY, (3,400) from CT, (3,600) from MA, (5,000) other settlements, and (9,000) SMA appeals
avoided/dismissed.

6/ LVA projections are based on receipts through May 23, 2018; estimates include (33,000) appeals split between OMHA (32,527) and the DAB (473).
7/ Appeals combined for efficiency result in one disposition for a group of combined appeals. This line accounts for received appeals that are not reflected in
disposition counts or elsewhere. This line cannot be predicted in advance (out year estimates reflect uncombined appeals).
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OMHA Assumptions/Definitions:

Pending Appeals at Beginning of Fiscal Year: Prior Year Pending Appeals count carried forward
New Receipts: Prior Year Actuals, and Out Year Estimates from CMS Projections
Total Appeals Removed at Current Budget Level: Cumulative impact of FY18 Budget Level, excludes estimated impacts of FY 2019 President's
Budget proposals (displayed as non-adds)
Impact of Prior Budget Level (FY17): Estimated impact of FY 2017 Budget Level

OMHA Dispositions: Sum of the following
     ALJ Dispositions: ~92 Onboard ALJs - adjusted to account for production impact of (minimal) attrition
     Attorney Adjudicator Dispositions: Largely replaces OTR Pilot in the long-term
     Settlement conference facilitation (SCF) - prior to States: Excludes State Medicaid Agency settlements. Added to the SCF count below
     starting in FY18
     On The Record (OTR) adjudication option: Largely replaced by Attorney Adjudicator Dispositions in the long term, but will persist since all
     new Attorney Adjudicators are required to complete a minimum of 50 OTR decisions along with other agency requirements prior to receiving
     a delegation as an Attorney Adjudicator
     Senior ALJ Program: Estimates based on prior year actuals
     Statistical sampling expanded / sampling with consent (Added Impact): Estimates based on prior year actuals and what's in the pipeline



Administrative Action Dispositions: Sum of the following
       Settlement conference facilitation - including States: Includes State Medicaid Agency settlements. All SCF dispositions counted here starting
       in FY18
       QIC Discussion Demonstration - Remands for Resolution: Prior Year Actuals, and Out Year Estimates from CMS Projections

        CMS Hospital Settlments: Prior Year Actuals, including HASP 1 and HASP 2, and stragglers that weren't properly closed or lacked
        documentation
        Received appeals combined for efficiency: Result in one disposition for a group of combined appeals. Accounts for received appeals that
        are not reflected in disposition counts, QIC discussion demo or CMS settlements. This line cannot be projected.

        Low Volume Appeals: Program is scheduled to end June 8th
        Serial Claims Initiative: CMS initiative - estimates include actuals and appeals at level 3 as of May 31, 2018 - overall impact is expected to
        decrease in out years as more appeals are addressed at level 2

Added Impact of Current Budget Level: Estimated impact of additional funds received with FY 2018 Budget
        Additional ALJ teams: Approximately 80 additional ALJ teams
        Additional Attorney Adjudicator Capacity: Approximately 15 additional attorney adjudicators
        Projection assumes future appropriations are maintained at current level of funding
*Impacts for Settlement Conference Facilitation Expansion are not yet available. Further experience and information is required before an estimate can
be made.
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                              CMS - QIC Projections (data reported in appeals, as of 6/30/2018)
                                                                   FY 20171    FY 20182       FY 20193, 4 FY 20203, 4 FY 20213, 4 FY 20223, 4
                                                             Baseline Receipts
   Non-RAC Receipts
       Part A Receipts                                                84,596        87,135        88,686      90,805      92,857       94,900
       Part B Receipts                                               149,334       119,772       121,628     124,438     127,176      129,897
       DME Receipts                                                  190,661       129,820       131,832     134,878     137,845      140,795
   Total Non-RAC Receipts                                            424,591       336,727       342,146     350,121     357,878      365,592
   RAC Receipts                                                       12,062         1,200        10,000      10,000      10,000       10,000
Total Receipts before Adjustments                                    436,653       337,927       352,146     360,121     367,878      375,592
Receipts Avoided from Prior Year Adjustments5                                           0           -550      -2,050      -2,250       -2,450
Total Receipts Including Prior Year Adjustments                                   337,927        351,596     358,071     365,628      373,142
Potential Denials by QIC (=Total Receipts X 55% QIC Denial
     6
Rate)                                                                             185,860        193,378     196,939     201,095      205,228
Potential Baseline Appeals to ALJ (=Potential Denials by QIC X
42% appeal rate)7                                                                  78,061         81,219      82,714       84,460      86,196
                                                          Administrative Actions
                                                 Receipts Avoided from Reaching QIC Level

     Prior Authorization Demonstrations (PMD, Ambulance, HBO)          -3,000        -2,000        -1,000          0            0           0
     Prior Authorization Regulation for DMEPOS8, 9, 10                   -500          -200         -500        -200         -200        -200
     Home Health Review Choice Demonstration                                0             0            0           0            0           0
Total Receipts Avoided (Current Year Adjusted by Quarter)11            -3,500          -550       -1,500        -200         -200        -200
Potential Denials by QIC (=Total Receipts Avoided X 55% QIC
Denial Rate)6                                                                          -303         -825        -110         -110        -110
                                      Administrative Actions Post-QIC Denial but Not Pending at OMHA
                  12
QIC Demonstration                                                   -14,914         -15,000      -15,000      -15,000           0           0
Total Potential QIC Denials Avoided from CMS Administrative
Actions                                                                             -15,303      -15,825      -15,110        -110        -110
Potential Appeals to ALJ Avoided (= [Potential Denials by QIC -
QIC Demo Removals] X 42% appeal rate)7                                               -6,427        -6,647      -6,346         -46         -46
                                                               Net Receipts
Total QIC Receipts after Adjustments                                               337,377       350,096     357,871     365,428      372,942
Potential Denials by QIC (=Total Receipts after Adjustments X
55% QIC Denial Rate)6                                                              185,557       192,553     196,829     200,985      205,118

Net Potential Appeals to ALJ (=Potential Baseline Appeals to
ALJ - Potential Appeals to ALJ Avoided from Admin Actions -
Potential Appeals to ALJ Avoided from Legislative Proposals)         112,933        71,634        74,572      76,368       84,414      86,150
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Baseline Receipts:
    1. FY 2017 represents actual counts.
    2. FY 2018 counts are extrapolated based on first 3 quarters data.
    3. Non-RAC Receipt Projections for FY 2019 - FY 2022 are based on Medicare FFS enrollment growth projections from CMS Office of Actuary
    (CMS OACT). According to OACT, Medicare growth rates for Part A FFS beneficiaries for CY2019 - CY2022 are 1.78%, 2.39%, 2.26% and 2.20%
    respectively; and for Part B FFS beneficiaries, 1.55%, 2.31%, 2.20% and 2.14% respectively.
    4. RAC Receipt Projections for FY 2019 - FY 2022 are based on ramping up of reviews under new contracts.
    5. Receipts Avoided from Prior Year Adjustments: Current Year assumes no further impact from prior year adjustment. FY 2019 assumes baseline
    receipts will be reduced by the number of appeals avoided from the prior year's administrative actions impacts (adjusted by quarter). FY 2020-22
    assume a reduction in baseline receipts by the cumulative impact of prior years' administrative impacts from the current year up to the Projected year.
Denials/Appeals Rate:
    6. Potential denials by QIC reflect most recent 8-quarter (two-year) rolling average. QIC denial rate is calculated based on decided appeals which
    include dismissals but exclude misrouted, escalated and pending appeals.
    7. Potential Appeals to ALJ reflect most recent 8-quarter (two-year) rolling average. Appeal rate is estimated using receipts at higher level divided by
    denials at lower level in the same fiscal year.
Administrative Actions:
    Prior Authorization Regulation for DMEPOS
    8. FY 2017 represents a non-add estimate based on 2 specialized wheelchair codes that were implemented in FY 2017.
    9. FY 2018 represents estimates based on the 2 codes from FY 2017 and inclusion of the PMD demonstration for one month. PMD demonstration
    ends in September 2018 and is fully integrated into regulation for all of FY 2019 and future years.
     10. FY 2019-FY 2022 represents estimates based on the 2 codes from FY 2017 and inclusion of the PMD demonstration for the full year.
     Total Receipts Avoided
     11. Only the current year total is adjusted downward by quarter to reflect impact of administrative actions already experienced. Quarter 1 data is
     lowered by 25%, Quarter 2 is lowered by 50%, Quarter 3 is lowered by 75%, and Quarter 4 impacts are considered non-add (lowered by 100%).
     QIC Demonstration
     12. DME appeals reversed fully or partially at QIC level through formal discussions with the appellants. FY2016 and FY2017 are actual counts of
     reopenings. FY2018 - FY2020 projections assume similar workload and similar outcomes as FY2017.
